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STATE OF ILLINOIS )

)
COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

IRIS N. VALCARCEL, INDIVIDUALLY,
AS SPECIAL ADMINISTRATOR FOR
THE ESTATE OF GIANNI ISAIAH
REYES, A DECEASED MINOR,

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Plaintiff,
VS.
EDITH H. HARTE, M.D., and
ERIE FAMILY HEALTH CENTER d/b/a
ERIE WEST TOWN HEALTH CENTER,
Defendants,

and

PHILLIP A. HIGGINS, M.D., and
ROCKFORD HEALTH PHYSICIANS,

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Respondent in Discovery.
ORDER
This cause having coming to be heard on the Petition of the mother, IRIS N. VALCARCEL
for appointment as Special Administrator of the Estate of GIANNI REYES, a deceased minor, for
the purpose of prosecuting the instant personal injury matter;
IT IS HEREBY ORDERED THAT:
IRIS N. VALCARCEL is hereby appointed as Special Administrator of the Estate of

GIANNI REYES, a deceased minor, for the purpose of prosecuting the instant personal injury

matter, with all duties and responsibilities appurtenant thereto. Notice has been given to all heirs and

legatees.

 

JUDGE

 

DATE
Judge James P, Flannery, Jr.

GOLDSTEIN, BENDER & ROMANOFF
Attorneys for Plaintiff MAR 06 2014
One North LaSalle Street, Suite 2600
Chicago, Illinois 60602

(312) 346-8558 -- ID. NO. 31521

PETTIONER'S Circuit Court ~ 1505
EXHIBIT

 

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